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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

JOHNNY SATURN                                §
                                             §
VS.                                          §       NO. 1:2020CV01176LY
                                             §
AUSTIN BERGSTROM                             §
INTERNATIONA AIRPORT                         §
(A.B.I.A.), ET AL                            §

        DEFENDANT H-E-B, LP’S RULE 12(b)(6) MOTION TO DISMISS

TO THE HONORABLE LEE YEAKEL, UNITED STATES DISTRICT JUDGE:

       COMES NOW, H-E-B, LP, Defendant, and improperly sued as HEB, (“HEB”

herein) in the above-styled and numbered cause, and moves this court to dismiss the

Plaintiff’s Second Amended Complaint for failure to state a claim pursuant to Fed. R.

Civ. P. 12(b)(6).

                                            I.

                                Summary of Argument

       Plaintiff’s Second Amended Complaint should be dismissed for its failure to state

a claim. Specifically, Plaintiff’s Second Amended Complaint never refers to HEB on any

page of its 76-page Second Amended Complaint.           Plaintiff does not identify any

particular acts or omissions committed by Defendant HEB, much less explain the specific

conduct at issue and how Defendant HEB allegedly participated in any such conduct. The

Second Amended Complaint refers to claims of Defamation, Invasion of Privacy,

Conspiracy, False Light, and Libel, but again, merely recites these claims with no factual
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support and no connection with any conduct, act or omission allegedly committed by

HEB.

       The entire Second Amended Complaint includes conclusions, unsupported and

incomprehensible statements with no factual support nor legal basis and with no specific

allegations regarding HEB.

       These allegations fall far short of the applicable pleading requirements of the

Federal Rules, and the Court should dismiss plaintiffs’ claims under Rule 12(b)(6).

                                             II.

                   Requirements for Pleading Pursuant to Rule 8(a)

       Rule 12(b)(6) allows dismissal of a plaintiff’s claim where a plaintiff fails “to state

a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6).

       Federal Rules of Civil Procedure 8(a) requires “‘a short and plain statement of the

claim showing that the pleader is entitled to relief, ‘in order to’ give the defendant fair

notice of what the . . . claim is and the grounds upon which it rests.” Fed. Rule Civ. Pro.

8(a)(2); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). “To survive a motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,

550 U.S. at 570). A claim has facial plausibility when the pleaded factual content allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged. Id. (citing Twombly, 550 U.S. at 556). A pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do,’
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nor does a complaint suffice if it tenders ‘naked assertions’ devoid of ‘further factual

enhancement. Id. (quoting Twombly, 550 U.S. at 555, 557). When pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged, but it has not shown that the pleader is entitled to relief. Id. at 679 (quoting Fed.

Rule Civ. Proc. 8(a)(2)). When plaintiffs “have not nudged their claims across the line

from conceivable to plausible, their complaint must be dismissed.” Twombly, 550 U.S.

at 570; accord Iqbal, 556 U.S. at 678 (noting that “[d]determining whether a complaint

states a plausible claim for relief will . . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense”).

         Plaintiff violated Rule 8(a) by employing “group pleading,” by failing to make

necessary distinctions among defendants, and by failing to include sufficient factual

allegations that Defendant HEB participated in any actionable conduct. There is no notice

to HEB of the alleged claim or grounds on which it rests.

                                                        III.

                                       The Complaint is Deficient

         a. Count 1: Defamation—Libel, Libel Per Se, Slander

         Plaintiff alleges in Count 1 that Defendants made “false statements” of Plaintiff to

defame him, pursuant to 28 U.S. Code § 4101 (1). 1 Defamation under Texas law means

“the invasion of a person’s interest in her reputation and good name.” Hancock v.

Variyam, 400 S.W.3d 59, 63 (Tex. 2013). To prove a successful defamation claim, the

1
  Chapter 181 is related to Foreign Judgements; therefore, Plaintiff has not provided Defendants the appropriate
statute to support his complaint.
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plaintiff must show the following: (1) the defendant published a false statement; (2) that

defamed the plaintiff; (3) with the requisite degree of fault regarding the statement’s

truth; and (4) damages, unless the statement constitutes defamation per se. Bedford v.

Spassoff, 520 S.W.3d 901, 904 (Tex. 2017). Further, to support a claim for defamation,

Plaintiff must show that the false statement was actually published to a third party; a

statement is published when it is communicated to a third party who is capable of

understanding its defamatory meaning and moreover in such a way that the person did, in

fact, understand its defamatory meaning. Thomas-Smith v. Mackin, 238 S.W.3d 503, 507

(Tex. App.—Houston [14th Dist.] 2007, no pet.). A statement is defamatory if the words

tend to injure the plaintiff's reputation, exposing it to public hatred, contempt, ridicule, or

financial injury, or if it tends to impeach the person's honesty, integrity, or virtue. Tex.

Civ. Prac. & Rem. Code Ann. § 73.001. To qualify as defamatory, a statement should be

derogatory, degrading, somewhat shocking, and contain elements of disgrace. Means v.

ABCABCO, Inc., 315 S.W.3d 209, 214 (Tex.App.- Austin 2010, no pet.). But a

communication that is merely unflattering, abusive, annoying, irksome, or embarrassing,

or that only hurts the plaintiff's feelings, is not actionable. Better Bus. Bureau of Metro.

Houston, Inc. v. John Moore Services, Inc., 441 S.W.3d 345, 355–56 (Tex. App. -

Houston [1st Dist.] 2013, pet. denied). Plaintiff is a private individual in the case at bar

and therefore Plaintiff must show that Defendants acted with negligence in publishing the

defamatory statement that Defendants knew or should have known the statement was

false.
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          Plaintiff’s complaint of the false statements includes allegations that Plaintiff

stalks women, is suicide[dal], is a cab driver, has seven lawsuits against Plaintiff, and

Plaintiff stalked Kristen Indiana Starbucks Arboretum Market. See Plaintiff’s Second

Amended Complaint; Paragraph 22. Plaintiff further alleges that upon information and

belief, these statements were read by visitors of the internet, throughout the State of

Texas, Greater Austin Metropolitan area, throughout the State of Georgia, the Provenance

of Quebec of City of Montreal, and State of Canada. 2 See Plaintiff’s Second Amended

Complaint; Paragraph 128. None of these incomprehensible, non-sensical statements

even address HEB.

          b. Count 2: Invasion of Privacy—False Light & Conspiracy

          Plaintiff has not pleaded any facts establishing Defendant HEB defamed the

plaintiff, published false statements defaming plaintiff or engaged in negligent

publication of the same. Plaintiff has failed to plead facts that sufficiently show that the

defamation claim is substantively plausible.

          Plaintiff pleads Invasion of Privacy pursuant to 42 U.S. Code § 1985(2), which is

not related to Plaintiff’s factual allegations. 3 There has been no trial or hearing from


2
    (SIC) Country*
3
  This statute refers to Conspiracy to interfere with civil rights by obstructing justice; intimidating party, witness or
juror occurs when two or more persons in any State or Territory conspire to deter, by force, intimidation, or threat,
any party or witness in any court of the United States from attending such court, or from testifying to any matter
pending therein, freely, fully, and truthfully, or to injure such party or witness in his person or property on account
of his having so attended or testified or to influence the verdict, presentment, or indictment of any grand or petit
juror in any such court, or to injure such juror in his person or property on account of any verdict, presentment, or
indictment lawfully assented to by him, or of his being or having been such juror; or if two or more persons conspire
for the purpose of impeding, hindering, obstructing, or defeating, in any manner, the due course of justice in any
State or Territory, with intent to deny to any citizen the equal protection of the laws, or to injure him or his property
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which Defendant HEB has intimidated any witness to deter them to appear and thus

deprived Plaintiff of his day in court.

         Plaintiff alleges in his pleading that Defendants acted in conspiracy to deprive him

of his day in court. Plaintiff also makes implications, albeit unclear allegations, in his

Second Amended Complaint, that Defendants acted together to spread false statements

about Plaintiff. Under Texas law, civil conspiracy involves a combination of two or more

persons with an unlawful purpose, or with a lawful purpose to be accomplished by

unlawful means. Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d 573 (Tex.

2001). Plaintiff has failed to plead facts that sufficiently show that Defendant HEB acted

with other Defendants in this case to deprive Plaintiff of his day in court or acted in

concert to defame Plaintiff.

                                                         IV.

                                                CONCLUSION

         In the light of the foregoing, Plaintiff’s claims against Defendant H-E-B, LP

should be dismissed under Rule 12(b)(6) for failure to state a claim upon which relief can

be granted. These allegations fall short of the applicable pleading requirements of the

Federal Rules, and the Court should dismiss plaintiff’s claims under Rule 12(b)(6).




for lawfully enforcing, or attempting to enforce, the right of any person, or class of persons, to the equal protection
of the laws.
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                                                Respectfully submitted,

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                                                ATTORNEYS FOR DEFENDANT
                                                H-E-B, LP


                            CERTIFICATE OF SERVICE
        I hereby certify that on the 19th day of February 2021, I electronically submitted
the foregoing document with the Clerk of the Court for the U.S. District Court, Western
District of Texas, using the CM/ECF system, which will send notification of such filing
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